;                   Case 3:11-cr-00072-HDM-WGC               Document 99         Filed 07/12/12       Page 1 of 6
1
i Ao2458(Rr+.aw11)ludrgntntinacri
                                minalcase
!          she.tl                                                                                               '
i      '
       *        j
1                                    U M TED STATES D ISTRICT C OURT
                                                          DistrictofNevada

           UNITED STATES OF AM ERICA                        )       JIJDGM ENT IN A CRIM INAL CASE
                                                            )
                                                            )
                                                            )       CaseNumber:3:l1-cr-00072-HDM-W GC-5
           ALBERTO ALVARADO-LASO,                           )
           akaçtM anuel>''akaççsantos'' '                   )       USM Number:46005-048
                                                            )
                                                            )       RichardM olezzo CJA
                                                                      e en ant s ttorney
    TH E D EFEN DA NT :
    X X pleaded guilty to CountThree ofSuoersedine lndictm enttiled 6/22/2011
    D pleadednolocontenderetocountts)                        .
           w hich w as accepted by the court.
    D wasfoundguiltyoncountts)                                             '
           A ier'a plea ofnotgullty.                                                              '

    Thedefendantisadjudicatedguiltyoftheseoffenses:                                                                                     .
    T itle & Section                N ature ofO ffense                              O ffense Ended           Count                      .
    21,U.S.C.j843(b)                UseofaTelephoneinCausingor                      5/11/2011         '      Three
                                    Facilitating the Com m ission ofFelonies
                                    Underthe Cohtrolled SubstancesAct


            Thedefendantissentencedasprovidedinpages2through 6 ofthisjudpnent.n esentenceisimposedpursuanttotheSentencing
    Reform Actof1984.

    E)Thedefeqdanthasbeenfotmdnotguiltyopcountts)
    XX CountsOneand Two of6/22/201lSuperseding Indictmentaredism issed on themotion oftàe United States.

            Itisorderedthatthedefendantmustnotify theUnited Statesattorney forthisdistrictwithin 30daysofany changeofnam e,residence,
    ormailingaddressuntilaIIGnes,restitution,costs,andspecialassessmentsimposedbytbisjudgmentarefullypaid.Iforderedtopayrestimtion,
    thedefendantmustnotifythecourtandUnited Statesattonfey ofmaterialchangesineconomiccircumstances.

                                                             Julv 10.2012
                    FILED                                   Date oflmposition ofJ     ent
                                     .    RECEIVED
                    ENTERED               SERVEDON
                              COUNSELJ
                                     P&RTI
                                         ESOFRECORD
                                                            SignatureofJu ge
                        JUL 122212                          H ow ard D .M cK ibben.SeniorU .S.D istrictJudze
                                                            N ame andTitleofJudge
                     CLERK USDISTRIW COURT
                       DISTRICTOFNEVADA
            BY:                              DEPUTY         Date
!
!                        Case 3:11-cr-00072-HDM-WGC             Document 99        Filed 07/12/12   Page 2 of 6
I                   .
i       AO2458 (Rr.
                  y.09/11)JudgmentinaCriminalCase
4               Sheet2-Imprisonment
r          *                                                                                          Judgment-Page 2   of 6
! D EFEN DA N T:                 ALBERTO Al-v ytn o o -l-A so
!
! 'CA SE NU M BER :              3:11- cr-00072-HDM -W GC-5
r
i                                                           IM PR ISO NM ENT
E
'
                          .                                                                                             .

                The detkndantishereby com m itted to the custody oftlae u nited statesBuzeau ofPrisonsto be im prisoned for a
    '

        totaltenn ofForty-Eigllt(48)M onthswithcreditfortimeserved.




        (ZI Thecourtmakesthe following recomm endationsto the Bureau ofPrisons:




        IV.X Thedefendantis rem anded to thecustody ofthe United StatesM arshal.
        EEI Thedefendantshallsurrenderto the United States M arshalforthisdistrict:
                EEl at                C1 a.m .EEI p.m .on                       .                                               '
                E1 asnotitied by the United States M arshal.
        I
        E1 Thedefendantshallsurrenderforservice ofsentenceatthe institution designated by the Bureau ofPrisons:
                EZIbefore 2 p.m .on '                          .
                EIas notised by the United StatesM arshal.
                1
                :1 asnotified by the Probation orPretrialSea icesOffice.


                                                                RETIJRN
        1haveexecutedthisjudgmentasfollows:


        D efendantdelivered on                                         to                                               a
                               >withacertitiedcopyofthisjudgment.

                                                                                                UNITED STATES StYRSHAL


                                                                                      By
                                                                                      DEPUTY UNTIED STATES M ARSHAL
                   Case 3:11-cr-00072-HDM-WGC                Document 99         Filed 07/12/12       Page 3 of 6
AO 2458 (Re.
           y.(k9/!1)JudpnentinaCriminalCase
          Sheet3-Supervised Rclease
      .                                                                                                  jjygmejjy.page (
                                                                                                                        )   of 6
DEFENDANT' .                M BERTO ALVA         O-LASO
CASE N UM BER:              3:11-cr-00072-HDM -W GC-5

                                                  SUPER W SED R ELEA SE

Uponreleasefrom imprisonment,thedefendantshallbeonsupervised releaseforaterm ofOne(1)Year.
        n edefendantmustreportto theprobationofriceinthedistricttowhicb the defendantisreleased within72 houl'sofreleasefrom the         '
custodyoftheBureauofPrisons.
Thedefendantshallnotcomm itanotherfedera.
                                        l stateorlocalcrime.
Thedefendantshallnotunlawfullypossessacontrolledsubstance.Thedefendantshallrefrainfrom any tmlawfuluseofaconlolledsubstan  'ce.
The defendantshallsubmitto one drug testwithin l5 daysofrelease &om imprisonmentand atIemqttwo periodic drug teststhereafter,as
determined by the
                'court notto exceed I04testsannually.
IZI       Theabovedrugtestingconditionissuspended basedonthecourt'sdeterminationthattbedefendantposesaIow riskoffuturesubstance
          abuse.(Check.êapplicable.)
XX        ThedefendantshallnotpossessaGrearm,ammunition destructivedevice,oranyotherdangerousweapon.(Check,êapplicable.)                 '
XX        ThedefendantshallcoopecateinthecollectionoçDNA asdirectedbytheprobationomcer.(Check yapplicable.
                                                                                                         )
          ThedefendantshallcomplywiththertquirementsoftheSexOflknderRegistrationandNotiticationAct(42U:S.C.j 16901,etseq.j
          asdirectedbytheprobationofficer theBureauofPrisons oranystate.sexofrenderregistrationagencyinwhichheorsheresides works
          isastudent,orwmsconvictedofaqualifyingofrense.(Check Ifapplicable)
          Thedefendantshallparticipateinanapprovedprogram fordomesticviolence.(Check,fapplicable)

       Ifthisjudgmtntimpesesatineorrestitution itisaconditionofsupewisedrelemsethatthedefendantpayinaccordancewiththeSchedule
ofPaymentssheetofthisjudgment.
         Thedefendantmustcomply withthestandardconditionsthathavebeenadoptedbythiscourtmswellaswithanyadditionalconditions
on theattached page.
                                      STAND ARD C ON DITIO NS O F SUPERW SIO N

1)        thedefcnilantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationofficer;
2)        thedefendantshallreporttotheprobationofricerinamannerand frequency directed bythecourtorprobationom cer'
3)        thedefendantshallanswertruthfullyallinquiriesbytheprobation officerand follow theinstructionsoftheprobationofticer;
4)        thedefendantshallsupporthisorlierdependcntsandmeetotherfamily responsibilities'
                                                                                        ,
5)        the defendantshallwork regularly ata lawfulocctlpation,unless excused by the probation officer forschooling,training,orother
          acceptablereasons'        '
6)        thedefendantshallnotifytheprobationofficeratleasttendayspriortoanychangeinresidenceoremployment;
7)        thedefendantshallrefrainfrom excessiveuseofalcoholandshallnotpurchase possess,use,distribute,oradministeranycontrolled
          substanceoranyparaphernaliarelatedtoanycontrolledsubstancesexceptasprescribedbyaphhsician'
8)        thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegallysold,used distributed,oradministered'
                                                                                                                     ,
9)        thedefendantshallnot%sociatewithanypersonsengagedincriminalactivityandshallnotassociatewithanypersonconvictedofa
          felony,unlessp'anted perm issionto doso bytheprobation officer''      '
l0)       thedefendantshallpermitaprobationofficertovisithim orheratanytimeathomtorelsewhereandshallpermitconfiscationofany
          contrabandobserved inplainview oftheprobationom cer;
I1)       thedefendantshallnotifytheprobationofricerwithinseventy-twohotu.
                                                                         sofbeingarrestedorquestionedbyaIaw enforcementomcer;
l2)       thedefendantshallnotenterinto anyagreementtoactmsan informeroraspecialagentofaIaw enforcementagencywithoutthe
          pennissionofthe court'and
          msdirectedbytheprobationofficer,thedefendantjhallnotify third partiesofrisksthatmaybeoccasionedby thedefendant'scriminal
          record orpersonalhistory orcharacteristics and shallpennitthe probation ofricerto make such notifications and to confirm the
          defendant'scom pliancewitbsuchnotification requirement. '
'




(                     Case 3:11-cr-00072-HDM-WGC            Document 99        Filed 07/12/12     Page 4 of 6
    AO 2458 (Rry.(19/11)Jud entinaCriminalCase
i            Sheet3C -Supervlsed Rclea:e
:        .                                                                                           Jutjgrjwju . pagr 4       of 6       .
'   DEFENDANT;                  ALBERTO ALV          DO.LASO
i
    CA SE N U M BER '
                    .           3:11-cr-00072-H D M -W G C-5                                                                          .
:
(
:                                          SPEC IA L CO ND ITION S OF SUPERW SION
:                                                                                                                   '
E   1.       Possession ofW eapon -Thedefendantshallnotpossess,have underhiscontrol,orhaveaccessto any tirearm,explosive
i            device orotherdangerousweapons,asdefined by federal,state or'locallaw .
                   ,


I   2.       W arrantlessSearch -The defendantshallsubm itto the search ofhis person,and any propertysresidence,orautomobile
'
             underhiscontrolbythejrobationofficer,oranyotherauthorizedpersonundertheimmediateandpersonalsupervisionof
.        '   the probation officerswlthouta search warrantto ensure com pliancewith alIconditionsofrelease.
E
.   3.       Deoortation Comoliance -lfdeported,the defendantshallnotreentertheUnited Statesw ithoutlegalauthorization.

!   4.       TrueN ame-Thedefendantshallusehistruenam eataIItimesand isprohibited from the useofany aliases,falsedatesof
:
             birth,socialsecurity num bers,placesofbirth,and any otherpertinentdemographic infonnation.




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(                                                 .
                     Case 3:11-cr-00072-HDM-WGC                 Document 99        Filed 07/12/12    Page 5 of 6
    AO 2458 (R%v.X /1l)JudgmentinaCriminalCa';e
            Shett5-CriminalMonttaryPenalties
        .                                                                                               Jutjgment.pagr j   of 6
                                                                               .


    DEFENDANT:                ALBERTO ALV            O-LASO
    CA SE N UM BER :          3:11-cr-00072-I4D M -W G C-5
                                               CR IM INAL M O NETA RY PENA LTIES
            Thedefendantmustpay the totalcrim inalmonetary penalties undertheschedule ofpaymentson Sheet6.

                              Assessm ent                           Fine                            Restitution
    TOTAI.
         ,S                   $100.00                               None                            N/A
                              D ue and payable im m ediately.


            Thedeterminationofrestitutionisdeferred until                    .AnAmendedludgmentinaCriminalCas'e(AO 245C)
             willbe entered aûersuch determ ination.

    EE)      Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
             Ifthedefendantmakesapartialpaym ent,eachpayeeshallrecciveanapproxim atelyproportionedpaymenq unlessspecified othenvise
             inthepriorityorderorpercentageyaymentcolumnbelow.Howeverpursuanttol8U.S.C.j3664(1)al1nonfederalvicti
                                                                                                                msmustbe
             paidbeforethe UnitedStatesispald.

    Nam e ofPavee                                 TotalLoss*        Restitution O rdered            Prioritv orPercentaee

    Clerk,U .S.D istrictCourt
    Attn:FinancialOfticer
    CaseNo.3:l1-cr-00072-HDM -W GC-5
    333 LmsV egasBoulevard,South
    Las Vegas,N V 89101




    TO TALS                            $

    Q        Restitutionamountordered pursuantio pleaagreement$          '
    Q        The defendantm ustpay intereston restitution and afine ofm orethan $2,500,unlesstherestitution orfine ispaid in full
             beforetheGfteenthdayaherthedateofthejudgment,pursuantto18U.S.C.93612(9.Allofthe'paymentoptionsonSheet
             6maybesubjecttopenaltiesfordelinquencyanddefault,pursuantto 18U.S.C.93612(g).                     '
    D        The courtdetermined thatthedefendantdotsnothave theability to pay interestand itisordered that:

             IEl      the interest'
                                  requirementiswaived fprthe EEIfine I
                                                                     ZIrestitution.

             (:1      the interestrequirementforthe(Z1fine I
                                                           ZIrestitution ismodified asfollows:


    *FindingsforthetotalamountofIossesarerequiredunderChapte'
                                                            rs109A , 1l0,Il0A,and 1l3A ofTitle l8foroffensescolnmittedonorafter
    Septemberl3,l994,butbeforeApril23,I996.
i
!                         Case 3:11-cr-00072-HDM-WGC                  Document 99        Filed 07/12/12        Page 6 of 6
        AO2458 (R%v
                  ..X /1l)JudgmentinaCriminalCase
                Sheel6-ScheduleofPayments                                                                                                '
            è                                                                                                     Judgment.Page 6    of 6
        DEFENDAN T'               ALBERTO ALV           O-LASO
        CA SE N UM BER :          3:11-cr-00072-H DM -W GC-5
:
i
                                                      SCH ED ULE O F PAYM EN TS
j       H                                                         '         .
!   .
         avingassessedthedefendant'sabilitytopay,paymentofthetotalcriminalmonetarypenaltiesisdueasfollows:
!
!       A       xx         Lumpsum paymentof$100.00 due im mediately,balance due
:

                           D      Notlaterth%                    ,or
                           D      in accordance EZIC, (
                                                      Z1D, (
                                                           Z1E,orD F below;or

        B       C1         Paymenttobeginimmediately (maybecombinedwith E:IC, C1D,or E:lF below);or
        C       E1        Paymentinequal                     4e.g.,weekly,monthl
                                                                               y,quarterly)installmentsof$          overaperiod
                          of             (e.g.,zzltln//ssoryears),tocommence               4c.g.,30or60ltz.p# aherthedateofthis
                          judgment'
                                  ,or
        D                  Paymentinequal                4e.g.,weekly,monlhly,quarterly) installmentsof$           overaperiod
                           of             4c.g.,monthsoryears),to commence                  (e.g'           çla'ûerreleasefrom
                                                                                                .,30or60Jtzy'
                                                                                                            -            .

                           imprisonmentto a term ofsupervision;or

        E       (ZI        Paymentduringtheterm ofsupervisedreleasewillcommencewithin                       4e.g.,30or60lc.y# aqerrelease
                           from im prisonment.Thecourtwillsetthe paym entplan based onanassessmentofthe defendant'sability to pay
                           atthattime'or

        F       E)         Specialinstructionsregarding thepaymentofcriminalm onetary penalties:


! gnlessthecourthasexFresslyorderedotherwise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetarypen,altiesisdueduring
i im prisonm ent                                                                    .
!                     .   A1Icrlminalmonetazy penalties,exceptthose payments made through the Fedel'
                                                                                                   alBureau of Prisons Inmate Financial
;       Responsibility Program ,arem adetotheclerkofthecourt.

5       n edefendantshallreceivecreditforallpaymentspreviously madetoward iny criminalmonetary penaltiesimposed.

                Jointand Several

                DefendantandCo-DefendantNamesandCmseNumbers(includingdefendantnumber),TotalAmount,Jointand
                SeveralAmount,and corresponding payee,ifappropriate.



        D       The defendantshallpay the costofprosecution.

                n edefendantshallpaythefollowingcourtcostts):
        Q       Thedefendantshallfolfeitthedefendant'sinterestin the following property to tlleUnited States:


        Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)rbstitutionprincipal,(3)restitutioninterest(4)fineprincipal,(5)fineinteresta
        (6)communityrestitutien,(7)penalties,and(8)costs,includingcostoi-prosecutionandcourtcosts.
